    USCA Case #22-5143     Document #1979453                 Filed: 12/27/2022      Page 1 of 11




                                       No. 22-5143


               United States Court of Appeals for the District of Columbia


                                      Pakosz, et al.

                                        Appellants

                                            V.


                                 Antony L. Blinken, et al.

                                         Appellee


         Appeal from the United States District Court for the District of Columbia
                              Case No l:19-cv-02316-RC
                           The Honorable Rudolph Contreras


                    Appellant Rick Dale Hollingsworth Reply Brief

               Re: Appeal Brief 1973122 & Appellee Response 1976791



                                     (Unrepresented)




                                                       UNITED STATES COURT OF APrE.\L3
                                                       FOR DISTRICT OF COLUMBIA CIRCU.T


                                                                DEC 2 7 2022
                                                         131“
                                                            ip-i I
                                                                     r~ ii Ti_,/      j
                                                         M                J   '0/   ,.y



I
    USCA Case #22-5143                Document #1979453                       Filed: 12/27/2022             Page 2 of 11




                                              TABLE OF CONTENTS

     Table of contents...................................................................................................i

     Table of Authorities............................................................................................. ii

     The Appellee Is Right and Wrong.........................................................................1

     The Substitute Is the Proper Party, Not Merely Someone Who Represents........... 2

     Hollingsworth Was Substitute As of Right in the District Court........................... 4

     Rule 43(a) Is Not the Controlling Rule..................................................................4

     The Alternative Ground Cited by the Government Is a Circular Argument........... 5
          Against Its First Erroneous Claim of Grounds for Dismissal

     The Government’s Case Citings Reveal That Pakosz’s Suit Was Not...................6
          Subjected to a Final Judgment

     The Pakosz Case File Requires Examination to Show a Substitute Is Needed........6

     Conclusion.......................................................................................................... 7




I




I
I
    USCA Case #22-5143              Document #1979453                          Filed: 12/27/2022               Page 3 of 11




                                        TABLE OF AUTHORITIES


     United States Constitution

          Ninth Amendment............................................................................................ 3
                Rights Retained

     United States Court of Appeals

          Ferguson v. Schuylkill ..................................................................................... 3
               929 F.2d 591 (llthCir. 1991)

     Federal Rules of Appellate Procedure

          Rule 43(a)..........................................................................................................5
                Death ofA Party

     Federal Rules of Civil Procedure

          Rule 25(a)..................................................................................................... 3, 4
                Substitution ofParties

     United States Code

          28 U.S.C. § 1291............................................................................................1,5
                Final Decisions ofDistrict Courts




I
    USCA Case #22-5143         Document #1979453               Filed: 12/27/2022        Page 4 of 11




     The Appellee Is Right and Wrong

          1.   After reading the response of the Appellants, I am convinced by their

     argument that the first two issues, paragraphs 4. a) through b) and 5. a) through f)

     are reserved still to the district court. The litigation has not resolved the case for

     all of the involved parties. However, paragraphs 6. a) and b) of my appeal brief is

     where the Circuit Court is sought to review and provide relief. I have not waived it

     as the Appellee says.

          2.   According to the argument and case citings of the government in their

     Appellee Brief, the decision of the district court on March 25, 2022, was not

     "final" as to all of the parties in the litigation and is of itself not final as

     contemplated by 28 U.S.C. § 1291. The suit is alive, and the merits of Pakosz

     complaint regarding damages is still being litigated in the district court.

          3.   The issue remaining for review is whether the district court did "Error in

     law and abuse discretion where it denied me, Hollingsworth, the right to substitute

I    for Pakosz .. .." (Pakosz Brief, p. 5, f 6 a)). My rights to substitute for William are

     collateral to the merits of the case. Since I was excluded from the case by the

     denial of my motion to substitute, Pakosz's case is ongoing without a proper person
I    declared as his substitute.

I         "As explained below. Defendants’ motion is granted as to all damages
          claims, and with the equitable claim for Pakosz’s passport no longer
I         available due to his death, there appears to be no remaining claim. The
          motions for substitution are therefore denied."

I
I   USCA Case #22-5143        Document #1979453             Filed: 12/27/2022     Page 5 of 11




          4.   The litigation is addressing the basis upon which Pakosz's suit was

     dismissed, namely that there are no damages available to him. The case is

     continuing without me, the one who is the voice from the grave of my friend and

     family William Mitchell Pakosz. The Circuit Court must determine whether I

     should have been excluded from participation as substitute in a case which the

     government appellees admit is ongoing.

          5.   I briefed the facts of Pakosz’s situation because the district court

     essentially said that Pakosz’s case lacks merit for damages. Yet, his case is still

     alive until all parties are dismissed. It is alive on a cross-motion for amendment to

     the complaint to which William Mitchell Pakosz was evidenced as Proper Party in
I    the original complaint's statement of facts, and subsequently named so by motion

     and amendment. I, as substitute for Pakosz, am the Proper Party to join the cross­

     motion that is being considered at this moment by the district court.

          6.   It is incumbent upon the Circuit Court to determine whether the collateral
I    order of the district court denying substitution is an abuse of discretion. The

     district court mush allow for a substitution until the judgment against, or for, all

I    parties in the suit was finally judged.

     The Substitute Is the Proper Party, Not Merely Someone Who Represents
I         7.   The government has made the argument that I have no right to be named

     a Proper Party under the rule that a pro se cannot "represent" another in litigation.

I
I
I   USCA Case #22-5143        Document #1979453             Filed: 12/27/2022     Page 6 of 11




     This goes to Statement of Issues in my brief, page 3, ^ 6. c) (sic). "Is the substitute

     able to take facts that emerged during the case, and exercise due process through

     discovery to identify the lawless actions of the perpetrators under-the-color-of-law

     who committed the new offences against Pakosz, so that Hollingsworth may to
I    (sic) seek damages for Pakosz and his survivors?" The Circuit Court needs to

     determine whether FRCP Rule 25(a) excludes people who cannot afford a lawyer

     from vindicating their. Ninth Amendment protected, common law right to

     represent themselves as a Proper Party substitute of the Party deceased.

          8.   Federal Rule of Civil Procedure, Rule 25(a) says that the court may order

     substitution of the proper party. The court is to order a substitution of the proper

     party, not "one who represents" the proper party. "A motion for substitution may

     be made by any party (noun) or by the decedent's successor (noun) or

     representative (noun)." Under this rule, whether or not one is a party (noun), or

     successor (noun), or representative (noun), before the court order, the one who

     moves to be a proper party substitute becomes a proper party and may as a

I    substitute represent their own interest in the status as a proper party in substitute

     who represents themselves pro se. That is how the common logic of the text reads.
I    The government's response cited Ferguson, 647 F. App'x at 70 (3rd Cir., 2016) to

I    say that one cannot file a motion for substitution pro se quoting "A pro se litigant

     may not represent another person in court." Though it is true that a pro se litigant


I
I
    USCA Case #22-5143        Document #1979453              Filed: 12/27/2022   Page 7 of 11




     may not represent (verb) another person in court, a proper party represents

     themselves as one declaring to be a proper party?

     Hollingsworth Was Substitute As of Right in the District Court

          9.   I (Hollingsworth) presented myself as first blood or first friend. That
I
     status was affirmed by Pakosz's wife and daughter. The common law recognizes

     powers of coverture whereby a close male family member has the duty to stand for

     the rights of his female family. I declared publicly my role of a substitute of the

     house of William Mitchell Pakosz. No friend, family or foe, has stepped up to

     contest the claim. The district court did not rule that I could not be a proper party

     in the March 25, 2022 order. I (Hollingsworth) was denied the right to substitute

     (rather than represent) for merely that dead men don't get passports.

          10. It appears in the logic of the context of the language of Rule 25(a) that

     the use of three words, some of which can be broadly defined, are in support of the

     common law liberty of first blood or first friend to substitute in the situation where

     William Mitchell Pakosz represented his injuries and complaints in his written suit

     for damages. Rule 25(a) and its wording should be liberally construed when their

     intent is clearly for the protection of rights and to reach justice.

     Rule 43(a) Is Not the Controlling Rule

          11. The Government Appellees's first attack on the Hollingsworth Brief is

     erroneous where the government says that I "never moved to substitute for Pakosz
I   USCA Case #22-5143        Document #1979453             Filed: 12/27/2022     Page 8 of 11




     on appeal under Fed. R. App. P. 43(a)." All of the steps listed on page 28 in the

     government's response brief occurred in the district court (ECF 113). If Pakosz

     had survived to this day, his case would still be before the district court with his

     fellow complainants Carmichael and Lewis. The rule Fed. R. App. P. 43(a) cited
I
     can only apply if Pakosz died after the district court's march 25, 2022, order.

          12. If my argument persuades the Circuit Court to reverse the district court’s

     denial of my substitute motion, I am then the substitute as far as all courts are

     concerned. If Pakosz’s case does not lack damages, I am the substitute from the

     time that my motion was filed in the district court (ECF 113).

     The Alternative Ground Cited By The Government Is a Circular Argument
     Against Its First Erroneous Claim of Grounds for Dismissal

          13. The government's brief on p. 30 misconstrues the significance of the

     motions panel. Pakosz's case is in locked step and wholly intertwined to the

I    ongoing litigation with his fellow complainants Carmichael and Lewis. The merits

     of their suit are the merits of Pakosz suit with regard to whether they adequately
I    made a claim for damages under the various theories of law that they presented to
I    the district court in their complaint. Also, there is that matter of whether the

I    district court erroneously regarded their complaint as excluding those bad actors,

     unnamable at the time, whose malevolent acts made them liable in their private

     capacity once their identities and particular actions could be scrutinized by

     discovery. Whether Pakosz is dead or not, his damages claims remain alive and I

I
I
    USCA Case #22-5143        Document #1979453             Filed: 12/27/2022     Page 9 of 11



I    have a right to pursue them as Pakosz's substitute.

     The Government's Case Citings Reveal That Pakosz's Suit Was Not Subjected
     to a Final Judgment

          14. On its faee, 28 U.S.C. § 1291, applies as the jurisdictional statute which

     gives me standing to appeal the decision. The government's argument in their

     response brief argues simultaneously that the Pakosz suit remains pending in the

     district court while also making an objectionable statement that raises a

     controversy that requires this Circuit Court to make a decision on the merits. Here

     is their contradicting statement "While it is undisputed that Pakosz lacks any claim

     remaining to be litigated in the district court, he is also without a final judgment to

     appeal at this point because his co-plaintiffs' claims remain pending" (Govt. Resp.

     p. 31, last para.).” There are then two things for the Circuit Court to consider, with

     both of those considerations being a power under the Circuit Court's jurisdiction.

     If Pakosz's suit as it was in the district court remains to have controversies over

     damages and who the parties should be as liable defendants, then the district court

     decision of March 25, 2022, is not final and the case ought to remain properly

     before the district court on the current motions where all parties can address those

     issues. That is a determination to be made and ordered by this Circuit Court.

     The Pakosz Case File Requires Examination to Show a Substitute Is Needed

          15. I briefed the facts and record of Pakosz’s case to show that the merits of

     his case should not be extinguished as moot. There are damages, due process, and
     USCA Case #22-5143        Document #1979453             Filed: 12/27/2022      Page 10 of 11




        parties that need to be exposed and named to the suit. If Carmichael and Lewis's

        cases are not final in the district court, then of course Pakosz's case ought to be still

        pending there. The case cannot be properly represented without a Pakosz

        substitute to pursue discovery to the end of reaching money damages from

        malevolent actors.

        Conclusion

              16. Essentially, the government's response brief argues for my proposal that I

        am demanding the Circuit Court, to grant review of the collateral case that is final

        regarding me. The district court order of March 25, 2022 denying me substitute

        status should be reversed.

                             ///


        ss:                                                Date:
        RicklDafe Hollingsworth
        14930 Greenbrier Lane
II      Homer Glen, Illinois 60491


II
II
II
II

I
I
 USCA Case #22-5143         Document #1979453                  Filed: 12/27/2022   Page 11 of 11




                              CERTIFICATE OF SERVICE


          I, Michelle Boulton, certify that I served to the U.S. Court of Appeals, U.S.
    Circuit Court, District of Columbia, in the case of Pakosz, et al, v. Blinken, et
    al., case no. 22-5143, the Appellants’ “Appellant Rick Dale Hollingsworth’s
    Reply Brief.” I served the court and parties at:
         Cleric United States Court of Appeals
         333 Constitution Avenue, N.W.
         Washington, DC 20001 (Priority Mail)
         David James Byerley
         U.S. D^artment of Justice
         (DOJ) Civil Division, Office of Immigration Litigation
         PO Box 868, Ben Franklin Station
         Washington, DC 20044-0868 (Priority Mail)
         United States Attorney
         United States Attorney's Office
         c/o Stephen DeGenaro
         601 D. StreetN.W.
         Washington, D.C. 20530 (Priority Mail)
         William Mitchell Pakosz c/o Rick Hollingsworth
         14930 Greenbrier Lane
         Homer Glen, Illinois 60491 (Priority Mail)
         Michelle Boulton
         8491 Hospital Dr., #178
         Douglasville, Georgia 30134-2412 (Hand delivery)

   I certify under the penalty of perjury under the laws of the United States of
       irica, that the foregoing is true.


                                                                . <gis> 2£>7^
    Iichelle BouJfSSi-^                                       Date
o//8491 HospTtm Dr., #178
   Douglasville, Georgia 30134-2412
                                     UNITED ETATE9 rr'-\ 'n-r n
                                     FORDiSTHiCiO.-             'ADPEALS
                                                           C t r j JfiCUlT


                                               DEC 2 / 2022

                                      receive
